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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Hon. Douglas E. Arpert
                                       :
      v.                               :    Mag. No. 19-1583-01 (DEA)
                                       :
FRANCIS ANTHONY GARZON                 :    ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of

Rachael A. Honig, Acting United States Attorney for the District of New Jersey

(by Eric A. Boden, Assistant United States Attorney), and defendant Francis

Anthony Garzon (by Lance Lazzaro, Esq.), for an order granting a continuance

of the proceedings in the above-captioned matter from the date this Order is

signed through February 28, 2022 to permit defense counsel the reasonable

time necessary for effective preparation in this matter and to allow the parties

to discuss the matter and conduct plea negotiations in an effort to resolve the

case before trial; and the defendant being aware that he has the right to have

the matter submitted to a grand jury within 30 days of the date of his arrest

pursuant to Title 18, United States Code, Section 3161(b); and five prior

continuances having been entered on December 10, 2019, February 28, 2020,

April 8, 2021, June 10, 2021, and August 24, 2021; and the defendant,

through his attorney, having consented to the continuance; and for good and

sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:
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      (1)   The parties anticipate entering into plea negotiations, which would

render a trial of this matter unnecessary;

      (2)   The failure to grant such a continuance would deny counsel for the

defendant or the attorney for the government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence;

      (3)   The defendant has consented to the aforementioned continuance;

      (4)   The grant of a continuance will likely conserve judicial resources;

and

      (5)   Pursuant to Title 18, United States Code, Section 3161(h)(7), the

ends of justice served by granting the continuance outweigh the best interest of

the public and the defendant in a speedy trial.

      WHEREFORE, it is on this ____
                                30th day of November, 2021;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through February 28, 2022; and it is further




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      ORDERED that the period from the date this Order is signed through

February 28, 2022 shall be excludable in computing time under the Speedy

Trial Act of 1974.



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                                            tates Magi
                                                  Magistrate
                                                    gistr
                                                    gi       Judge



Form and entry consented to:




Eric A. Boden
Assistant
A  i t tU United
            it d States
                 S      Attorney




Lance Lazzaro, Esq.
Counsel for Defendant Francis Anthony Garzon




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